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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

 IN RE:                                          )
                                                 )
 Henry H. Pittman                                )         Case No. 22-50415-SCS
                                                 )         Chapter 7
                 Debtor.                         )


 Legacy Mortgage Asset Trust 2020-GS4,           )
                                                 )
                 Movant,                         )
                                                 )
                 v.                              )
                                                 )
 Henry H. Pittman                                )
 and David R. Ruby, Trustee                      )
                                                 )
                 Respondents.                    )
                                                 )

                      TRUSTEE’S OBJECTION TO MOTION FOR RELIEF

          David R. Ruby, Chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Henry H.

 Pittman (the “Estate”), respectfully submits the following objection to the Motion Seeking Relief

 from Stay (Doc. 137) (the “Motion”) filed by Legacy Mortgage Asset Trust 2020-GS4 (the

 “Movant”) with respect to the residential real property located at 105 Larson Court, Newport

 News, VA 23602 (the “Estate Property”):

          1.     On July 5, 2022, Henry H. Pittman (the “Debtor”) filed a voluntary petition under

 Chapter 13 of the United States Bankruptcy Code. By the Court’s Order Upon Conversion of

 Chapter 13 to Chapter 7 (Doc. 103), the case was converted to a Chapter 7 case.


 David R. Ruby, Esquire (VSB No. 22703)
 Chapter 7 Trustee
 ThompsonMcMullan, P.C.
 100 Shockoe Slip, Third Floor
 Richmond, Virginia 23219
 Telephone: (804) 698-6220
 Facsimile: (804) 780-1813
 Email: druby@t-mlaw.com
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         2.     The Trustee was appointed and serves as Chapter 7 trustee in the case.

         3.     The initial § 341 meeting was scheduled for and conducted on January 3, 2024.

 The meeting was adjourned to February 5, 2024, and readjourned to February 26, 2024 and then

 to March 20, 2024. The meeting was concluded on March 20, 2024.

         4.     The principal purpose of the adjournments was to provide the Trustee with an

 opportunity to obtain and review documentation and information regarding ongoing divorce

 proceedings in Maryland and to determine their impact on the bankruptcy case and the Estate.

         5.     The Trustee declared the case to be an asset case on April 3, 2024.

         6.     In the Motion, the Movant advises as follows: (i) that the Estate Property is

 assessed at $334,900 and (ii) that the balance due on its secured claim against the Estate Property

 was approximately $133,648.79 as of March 4, 2024.

         7.     In the Motion, the Movant admits that the Estate Property possesses equity in

 excess of $200,000.00 ($334,900 less $133,648.79 = $201,251.21).

         8.     Based upon the foregoing alone, the Movant’s interest in the Estate Property is

 adequately protected, and no cause exists to grant the Movant relief from the automatic stay with

 respect to the Estate Property.

         9.     Based upon the level and extent of equity in the Estate Property, the Trustee

 intends employ a real estate agent and list and market the Estate Property for sale for the benefit

 of the Estate. Sale of the Estate Property will allow for payment of the Movant’s secured claim

 against the Estate Property in full at closing and allow for a meaningful distribution to unsecured

 creditors.

         10.    The Trustee has advised the Movant of his intentions.




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         WHEREFORE, the Trustee respectfully requests the Court (i) to deny the relief requested

 by the Movant and dismiss the Motion; (ii) to allow the Trustee to administer the Estate Property

 for the benefit of the Estate; (iii) to allow the Trustee to take such action with respect to the

 Estate Property as he shall deem to be in the best interests of the Estate; and (iv) to grant such

 other relief as the Court shall deem just and proper.

                                                  Respectfully submitted,

                                                        /s/ David R. Ruby
                                                  David R. Ruby, Chapter 7 Trustee




                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of April, 2024, a true and accurate copy of the
 foregoing Objection was served by first class U.S. Mail (postage prepaid), via e-mail or via the
 Electronic Case Filing (ECF) system, as appropriate and as indicated, on the following parties:

 Cecelia A. Weschler, Esquire*                             Carolyn Anne Bedi, Esquire*
 Office of the U.S. Trustee                                Bedi Legal, P.C.
 Room 625, Federal Building                                1305 Executive Blvd., Suite 110
 200 Granby Street                                         Chesapeake, VA 23320
 Norfolk, Virginia 23510                                   [Debtor’s counsel]
 [Cecelia.A.Weschler@usdoj.gov]
 [USTPRegion04.NO.ECF@usdoj.gov]                           Henry Harold Pittman
                                                           105 Larson Court
 David R. Ruby, Esquire*                                   Newport News, VA 23602
 ThompsonMcMullan, P.C.                                    [Debtor]
 100 Shockoe Slip, Third Floor
 Richmond, Virginia 23219                                  Brandon R Jordan, Esquire*
 [Trustee]                                                 Robertson, Anschutz, Schneid, Crane & Partners, PLLC
                                                           11350 McCormick Road, EP 1, Suite 302
                                                           Hunt Valley, Maryland 21031




                                                                   /s/ David R. Ruby
                                                                   David R. Ruby


 [* Indicates service by ECF or e-mail. All others served by first class U.S. Mail, postage prepaid.]


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